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                                                                                    U.S. DISTRICT COURT
                                                                                EASTERN DISTRICT ARKANSAS


                             UNITED STATES DISTRICT COURT                              NOV 15 2021
                             EASTERN DISTRICT OF ARKANSAS
                                  NORTHERN DIVISION                          B ;A~OWNS, CLERK
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 STANLEY JONES, BLACK SPICE FARMS,                 Case No.:   ? ~2-\--C,V-'lZft-_B~
 INC., BRITT JONES, INC., HOGBACK
 FARM, INC., J-CO FARMS, NORTH 40
 FARMS, INC., S&W FARMS, SIB FARMS,
 T&W FARMS, and SLOUGH FARMS, INC.,                COMPLAINT - CLASS ACTION
 individually and on behalf of all those
 similarly situated,
                                                   DEMAND FOR JURY TRIAL
                         Plaintiffs,
 V.


 CORTEVA, INC. and CORTEVA
 AGRISCIENCE LLC,
                                                      This case assigned to District Ju;ee   D'\Jller
                                                      and to Magistrate Judge   ;:¼r   \S                __ _
                         Defendants.


       Plaintiffs Stanley Jones, Black Spice Farms, Inc., Britt Jones, Inc., HogBack Farm, Inc., J-

Co Farms, North 40 Farms, Inc., S&W Farms, SIB Farms, T&W Farms, and Slough Farms, Inc.

bring this Complaint on behalf of themselves and all others similarly situated for damages,

declaratory relief, and punitive damages against Defendants Corteva, Inc. and Corteva Agriscience

LLC, and allege as follows:

I.     INTRODUCTION

       1.      Loy ant is a "rice herbicide" manufactured and marketed by Defendants. As a "rice

herbicide," Loyant is intended to control certain grass and weeds that interfere with the growth of

rice crops. The most common of these problematic plants is barnyardgrass. Others include rice

flatsedge, yellow nutsedge, broadleaf signalgrass, junglerice purple nutsedge, and smallflower

umbrellasedge.

       2.        Plaintiff Stanley Jones is a rice farmer in Hoxie, Arkansas. In early 2018-on his

behalf and on behalf of various rice-farming entities he owns and operates-he purchased 100
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gallons of Loyant to control the grass and weeds in his rice fields for the 2018 growing year. He

made this purchase based on Defendants' representations that Loy ant would be nearly 100%

effective at controlling bamyardgrass.

       3.       Loyant was far from 100% effective at controlling bamyardgrass. Instead, after

applying Loyant, the bamyardgrass and other weeds did not die as Defendants represented they

would. After Jones complained to Defendants, their employees encouraged Jones to flood his rice

fields, apply fertilizer, and wait for the Loyant to work. This step did not solve Jones's

bamyardgrass problem. In fact, following Defendants' advice only served to make the barnyard

grass and weeds worse in Jones's fields and ultimately resulted in some fields being so overgrown

with barnyard grass that that fields were a total loss.

       4.       Jones is not alone. Thousands of farmers in Arkansas-the heart of the American

rice industry-bought and applied Loyant for its supposed bamyardgrass control, only to see their

2018 rice yield suffer when the herbicide did not work. Each of these growers suffered financial

injury ranging from the amount they paid for Loyant to the amount of rice they were unable to

grow-and, thus, sell-in 2018.

        5.      On behalf of themselves and all other Arkansas rice growers, Plaintiffs seek

damages for Defendants' breach of their warranty obligations to provide a product that could

control bamyardgrass in rice fields.

II.     PARTIES

        A.      Plaintiffs

        6.      Plaintiff Stanley Jones ("Stan Jones" or "Jones") is a citizen and resident of

Lawrence County, Arkansas. Jones is the owner and operator of various entities, including

Plaintiffs Black Spice Farms, Inc., Britt Jones, Inc., HogBack Farm, Inc., J-Co Farms, North 40

Farms, Inc., S&W Farms, SIB Farms, T&W Farms, and Slough Farms, Inc. All of these entity


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Plaintiffs are Arkansas corporations with their principal place of business in Lawrence County,

Arkansas. This Complaint refers to Jones and these entities collectively as the "Jones Operation."

       B.      Defendants

       7.      Defendant Corteva, Inc. is a Delaware corporation with its principal place of

business at 974 Centre Road, Wilmington, Delaware 19805. Corteva, Inc. was created on June 1,

2019 through a previously announced separation of the agriculture business of DuPont de

Nemours, Inc. (formerly known as DowDuPont Inc.). Upon its formation, Corteva, Inc. inherited

all the assets and liabilities of the agriculture business of DuPont de Nemours, Inc.

       8.      Defendant Corteva Agriscience LLC ("Corteva Agriscience") is a Delaware

corporation with its principal place of business at 9330 Zionsville Road, Indianapolis, Indiana

46268. Corteva Agriscience is a wholly owned subsidiary of Corteva, Inc. Corteva Agriscience is

the successor company to Dow AgroSciences LLC, which manufactured and sold Loyant until

company's assets were transferred to Corteva Agriscience. Upon its formation, Corteva

Agriscience inherited all the assets and liabilities of Dow AgroSciences LLC.

       9.      This Complaint uses "Defendants" to refer to all entities that have at any time

manufactured, marketed, and sold Loyant. These entities include named Defendants Corteva, Inc.

and Corteva Agriscience LLC, as well as predecessor companies DuPont de Nemours, Inc.,

DowDuPont Inc., Dow AgroSciences LLC, and E. I. du Pont de Nemours and Company. Corteva,

Inc. and Corteva Agriscience inherited all of the relevant assets and liabilities of these predecessor

companies.

        10.    This Complaint uses "Dow" to refer to the entities that manufactured, marketed,

and sold Loyant prior to the formation of Corteva, Inc. in 2019.




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      III.     JURISDICTION AND VENUE

               11.     This Court has original jurisdiction pursuant to the Class Action Fairness Act,

      28 U.S.C. § 1332(d), because (a) at least one member of the proposed Class is a citizen of a state

      different from that of Defendants, (b) the amount in controversy exceeds $5,000,000, exclusive of

      interest and costs, (c) the proposed Class consists of more than 100 class members, and (d) none

      of the exceptions under 28 U.S.C. § 1332(d) apply to this action.

               12.     This Court has personal jurisdiction over Corteva, Inc. and Corteva Agriscience

      LLC who are registered to do business in Arkansas, have sufficient minimum contacts in Arkansas,

      committed acts in furtherance of the allegations in this Complaint in Arkansas, and/or otherwise

      intentionally avail themselves of the markets within Arkansas through their business activities,

      such that the exercise of jurisdiction by this Court is proper. The registered agent for Corteva, Inc.

      and Corteva Agriscience LLC is CT Corporation System, 124 West Capitol Avenue, Suite 1900,

      Little Rock, Arkansas 72201.

               13.     Venue is proper in this District under 28 U.S.C. § 1391(b) because a substantial

      part of the events or omissions giving rise to Plaintiffs' claims occurred in this District. Defendants

      have marketed, advertised, and sold Loyant, and otherwise conducted extensive business, within

      this District.

IV.          FACTUAL ALLEGATIONS

               A.      Rice production is a large part of the Arkansas economy.

               14.     Every year, farmers in the United States plant and harvest over 2.5 million acres of

      nee.

               15.     Approximately half of all American-produced rice-over 1.2 million acres in

      2021-is grown in Arkansas. The other major rice-producing states are California, Louisiana,

      Mississippi, Missouri, and Texas.



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        16.     Rice comes in three main lengths: long, medium, and short. Almost all of the rice

grown in Arkansas-1.1 million acres-is long grain. The rest is medium grain (0.1 million acres),

with a negligible amount of short grain (1,000 acres total in 2021 ). 1

        17.     The American rice industry is crucial to the domestic-and Arkansas--economy.

In 2020, the Arkansas rice crop generated nearly $1.3 billion in sales. Beyond the value of the

crop production, rice farming generates over $4 billion for the Arkansas economy annually.

        18.     There are over 2,500 rice farms in Arkansas, 96% of which are family owned.

        B.      Barnyardgrass and other weeds inhibit rice growth and cultivation.

        19.     A rice farmer's profitability depends, in part, on the volume of rice produced from

each acre of his or her operation. The more rice produced from each acre, the higher the profit

potential for the farmer. In other words, if grass or other weeds occupy space in a given acre of a

rice field where a rice plant could otherwise grow and produce rice, the amount of rice harvested

from that acre is less compared to if there were no grass or weeds in that given acre. Alternatively,

if a rice plant is damaged and it produces less rice seed or no rice at all, the amount of rice harvested

is less compared to if the rice plant was not damaged.

        20.     In survey after survey, rice growers say that barnyardgrass is the most troublesome

weed for rice cultivation. 2 A barnyardgrass infestation of rice crop can be catastrophic, causing

21-79% yield loss, or even complete crop loss. 3

        21.     For decades, Arkansas rice farmers have attempted to prevent these barnyardgrass

infestations by applying herbicide to their fields. Although some treatments were moderately


1 https://www.nass.usda.gov/Statistics_by_ State/Arkansas/Publications/Crop_Releases/

Acreage/2021/aracreage2 l .pdf
2 https://www.uaex.edu/publications/pdf/FSA-2 l 75.pdf,
https://www.ricefarming.com/departments/for-most-troublesome-weed-in-rice-the-winner-is/.
3 https://www.sciencedirect.com/science/article/pii/S2214514120301859#b0055,

https://www.uaex.edu/publications/pdf/FSA-2 l 75.pdf.


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successful, Arkansas barnyardgrass developed resistance to many of the leading herbicides,

including Facet, Newpath, Grasp, Regiment, Beyond, and Command. In some cases,

barnyardgrass plants have been found to be resistant to multiple herbicides.

          C.    Development of Loyant

          22.   In January 2016, Dow AgroSciences publicly announced Loyant as the name of the

company's new weed control product in rice. Dow stated that regulators would begin to register

Loyant for use on rice in 2017-18.

          23.   Loyant is a selective, systemic, post-emergent herbicide. Post-emergent (as

opposed to pre-emergent) herbicides are applied to weeds and grass that have already grown.

Systemic (as opposed to contact) herbicides are absorbed into the plant, which helps destroy the

entire weed structure and can prevent perennial weeds from returning. Selective (as opposed to

non-selective) herbicides target certain grass and weeds without damaging any of the surrounding

plants.

          24.    The active ingredient in Loyant is florpyrauxifen-benzyl, also known as "Rinskor

active."

          25.   In September 2017, a year and a half after Dow first publicly announced that

Loyant would be coming to market, the Environmental Protection Agency (EPA) registered the

product for use on rice.

          26.   For the 2018 growing season, the appropriate authorities in Arkansas, Louisiana,

Mississippi, Missouri, Tennessee, and Texas registered Loyant for use on rice. Since then, Loyant

has also received state registrations in Florida and South Carolina.

          D.    Dow's Representations about Loyant

          27.   Dow's January 2016 press release trumpeting Loyant promised that it would "be

an effective tool in the fight against herbicide resistance." Dow also made specific promises about



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Loyant's ability to control bamyardgrass. The company said that, as part of Loyant's "robust,

broad spectrum of control," the herbicide would ''provide a new solution to the resistant

bamyardgrass issues rice growers face." The company listed a number of weeds that Loyant was

supposed to control, with bamyardgrass at the top of the list.

       28.     In July 2016, Dow posted on Twitter: ''#Loyant{TM) controls number one weed in

rice: bamyardgrass. #DowAgroSolutions".

       29.     Even before Dow received approval from regulatory authorities to market Loyant,

Dow published a "Technical Data Sheet" promising "control of grass, sedge, and broadleaf weed

species that have developed tolerance/resistance to other herbicide sites of actions." One of the

"key weed species controlled in U.S. rice" was bamyardgrass:


                 KEY WEED SPECIES CONTROLLED IN U.S. RICE
                                                                              Sedge Control·




                 • Suppression



                  Broadleaf/Aquat1c Control
                  Velvelleaf                                            Spreading devflower
                  Jointve1ch                                            Ducksalad
                  Redstem                                               Falsanlmpemel
                  Plgweed                                               Monochoria
                  Oncludes palmer amaranth and redroot)
                  -                                                     Anawhead/bulltonaue/grassyarrowhead
                  Common lambsquartars                                  Hempsesbania
                  Horseweed                                             Cocklebur
                  Alligatorweed                                         EcllDfa
                  Pitted momingalorv                                    Redroot pigweed
                  Redweed                                               RDundleaf mudplantain
                 1 Partial listing of grass weeds suscephble to Loyant herbicide when used at anticipated label use rates
                 2 Partial hsting of sedge weeds susceptible to l.Dyant herbiode when used at anticipated label use rates
                 3 Partial hsbng of broadleaf weeds susceptible to Loyanl herbicide when used at ant,c,palad label use rates




       30.     The Data Sheet featured a photographic comparison purporting to demonstrate

Loyant's ability to control bamyardgrass:



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                                                 Barnyardgrass Control
                      Un treJ ted /Left; - h:Jted w,tt, 1 p,ntlacre pre-flood of Loy::mt • herbicide (Right)



       31.     Dow also promised that rice exhibits "excellent crop tolerance" to Loyant. 4

       32.     In September 2017, after the EPA approved Loyant for use on rice, Hunter Perry,

field research and development specialist with Dow AgroSciences, said that Loyant would bring

a "robust herbicide solution" to the rice community and that it would "control bamyardgrass and

broadleaf signalgrass." He continued: "Loyant is very effective. It's going to bring a safe solution."

       33 .    Dow also issued a press release touting Loyant' s " [u]nmatched broadleaf, grass,

sedge and aquatic weed control" and " [c ]ontrol of ALS-, ACCase-, glyphosate-, propanil- and

quinclorac-resistant weeds such as bamyardgrass and sedges." 5

       34.     The product's specimen label- which was published that same month- stated that

emerged weeds susceptible to Loyant "will be controlled." In particular, the label said that Loyant

would control bamyardgrass, including species that had developed resistance to other herbicides.




4

https://www.corteva.us/content/dam/dpagco/corteva/na/us/en/products/files/DF _Loyant_ TechDa
taSheet. pdf
5 https ://mississippi.growingamerica.corn/news/20 I 7/09/new-herbicide-registration-changes-

weed-management


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The label listed other weeds that Loyant would either control or suppress-but bamyardgrass was,

once again, at the top of the list:

 Application Rates and Weeds Controlled or Suppressed
 Ma ralll of 16 fl oz/acrl (1 Jinllacnit thefolowilg W9ldl in aitha' oonlroltd o r ~ :
  CommanName                           SdantltlcNarw                               Controlled ICI   Mur&1m Qrowlhltaga
                                                                                  ar8u...-ct(Bt
 larrfardgl'lll 1                     EdlinDdllol CN&-gali                               C                3 tllar
 broldlaaf signalgrua1                Uodlloll platyphylla                               C                 51af
 jungleric:11                         EdlinDdllol oolona                                 C                3 tllar
 1lgChNd spranglatop                  L,ptoc:11/oa ,-ilcoides                            s                2 tllar
 rice fllllltdga'                      ~IU.li'il                                         C                 llaf
 purple rulladgel.2                   ~ - IOlll!d!J.f                                    C                 51af
 yelow nulladge1.2                    ~ - aswhlnlUT                                      C                 51af
  Smalllowar umtnlaladge'             ~ - dlfamu                                         C                 llaf
  dgatorwaml                          Mamlllfl- phloJC1n>ide1                            C              12• runn&l'I
  Arnmamia (rad stem)                 AmllWlnill COCcinH                                 C                  8"




          35.        To this day, Loyant's label continues to state that "susceptible weeds"-including

bamyardgrass-"will be controlled."

          36.        Defendants also urged customers to mix Loyant with Clincher, a postemergence

grass herbicide manufactured and marketed by Defendants.

          E.         The Jones Operation's Problems with Loyant

          37.        The Jones Operation purchased 100 gallons of Loyant at $310 per gallon for use in

the 2018 growing season. Jones made this purchase after he read and heard advertisements

promising that Loyant would control bamyardgrass on rice fields. He also spoke with Dow

representatives who promised him that Loyant would provide a broad spectrum of weed control,

including of bamyardgrass.

          38.        Jones followed the instructions for use of Loyant. Using a ground rig and the exact

amount of water Dow specified on the label, Jones applied Loyant to approximately 800 acres of

long-grain rice containing emerged bamyardgrass.

          39.        Although Jones expected Loyant to begin working immediately, a week after

application the bamyardgrass plants on his rice fields were not under control-it was as if the

weeds had been sprayed with water, not an herbicide. After discussing the problem with a crop



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consultant, who agreed that the Loyant was not working, Jones called his Dow representative. The

representative informed Jones that Loyant was a "slow peel" and that, in order to maximize the

herbicide's efficacy, Jones should apply fertilizer and flood his rice fields. Jones followed Dow's

instructions, but these steps did not help his bamyardgrass problem. Instead, the bamyardgrass

overran the rice on Jones's flooded fields. Jones salvaged what he could, but on many of the fields

to which he applied Loyant, he had zero rice yield for 2018.

       40.     In 2018, the acres where Jones sprayed Loyant yielded an average of approximately

63 bushels of rice per acre. To provide a comparison and to illustrate the drastic yield decrease

because of Loyant, in 2017, on the same farm, the Jones Operation yielded approximately 119

bushels of rice per acre, and in 2019 his operation yielded approximately 129 bushels of rice per

acre. In addition to Loyant decreasing yields, the Jones Operation also suffered increased input

costs from battling bamyardgrass and weeds that Loyant failed to control. Additionally, the quality

of the Jones Operation's rice was also damaged by the Loyant itself and/or because of the

bamyardgrass and weeds that overtook the fields where Loyant was sprayed ultimately causing

the quality of rice produced from those acres to suffer.

        41.     Jones complained to Defendants after using Loyant, seeking compensation for his

losses prior to filing suit. Defendants' offer in response was not sufficient.

        42.     If Jones had known about the problems with Loyant, he would not have purchased

it or would have paid less for it.

        F.      Other Growers' Problems with Loyant

        43.     The Jones Operation is not alone in its issues with Loyant. Other growers and

scientists have experienced problems with Loyant, including that it does not control bamyardgrass

and result in injury to rice crops and diminished quality of harvested rice.




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       44.     According to a 2019 presentation by University of Arkansas weed scientist Jason

Norsworthy, Loyant had severe performance issues during the 2018 growing season. Among many

other problems, Loyant had "[l]ower than expected control" of barnyardgrass populations. These

control issues were "observed in the field" during the summer of 2018. Scientists also observed

Loyant failure in greenhouse tests during the winter of 2019, under conditions that were "optimized

for Loyant activity."6

       45.     Across 138 samples, growers experienced an average rate of 67% barnyardgrass

control-far from the complete control Dow promised. Norsworthy said that most of these control

issues came from "Loyant failures."

       46.     Norsworthy's presentation also detailed how Loyant causes crop injury. Numerous

growers across the region have also reported crop injury on their Loyant-treated rice, with

symptoms including "onion leafing (rolled leaves) and buggy whipping (leaves catch at the collar),

twisting, and stunting."7 Because of this, the University of Arkansas has recommended that

growers "avoid" applying Loyant to hybrid, medium-grain, or long-grain Diamond rice "unless

absolutely necessary."8

       47.     In addition, each year and in advance of the growing season, farmers put together

their chemical and weed control programs for their upcoming crop year. This includes deciding

what chemicals to use, purchasing the chemicals, and putting together the plan for when and how

to apply the chemicals. The two methods that farmers use to apply chemicals to their crops are

with an airplane (when possible) or a ground rig applicator. One of the advantages of using an



6 https://www.uaex.edu/farm-ranch/pest-
management/weed/docs/Rice%20Weed%20Control%202019%20presentation.pdf
7 https://agfax.com/2018/06/27/texas-rice-loyant-herbicide-inj ury-what-we-know-right-now/
8 https://agfaxweedsolutions.com/2019/01/14/arkansas-rice-loyant-what-have-we-learned-from-
last-year/


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airplane to apply chemicals has to do with timing. Specifically, if a chemical can be applied with

an airplane, a farmer can avoid having to wait for fields to be dry enough to drive heavy equipment

in the fields. In trying to control weeds in a rice field, when weeds emerge from the ground, they

are younger and smaller. Weeds are easier to kill the younger and smaller they are. The older,

taller, and more mature the weeds get, the harder they are to kill.

         48.    Defendants represented that Loyant could be applied usmg airplanes/flying

services. As such, going into the 2018 crop year, farmers based their decisions for their chemical

and weed control programs on Defendants' representation about being able to apply Loyant with

an airplane and planned accordingly. However, in 2018, once flying services started applying

Loyant with airplanes, widespread problems of Loyant drifting onto other crops began occurring.

Rice farms and other crops, such as soybeans, are often grown side-by-side or in the same vicinity.

Once aerial applicators started spraying Loy ant in 2018, it was discovered that Loyant drifted much

further than Defendants represented it would. It was also discovered that Loyant was more toxic

to soybeans than Defendants represented. Due to Loyant drifting where it was not intended to be

applied and killing, for example, soybeans, Loyant's drift issue quickly became "out of control"

and aerial applicator companies refused to spray Loyant despite the fact many farmers built their

weed control programs for 2018 using Loyant and applying it with airplanes. 9 The problem was

so bad that, in May 2018, the Arkansas Department of Agriculture issued a special bulletin warning

of the danger from Loy ant drift.

         49.    Denny Stokes of Earle, a Plant Board member and owner of Stokes Flying Service,

stated in 2018 that the "off-target movement of the herbicide ha[d] come from both aerial and




9   https://agfax.com/2018/05/28/arkansas-rice-loyant-drift-preflood-n-management/


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ground applications, even when applicators are closely following the label instructions for spraying

the herbicide." 10

          50.   Loyant's drift defect left farmers scrambling to change their weed control programs

at the last minute and forced farmers to have to wait for their fields to become dry enough to apply

Loyant at a later time with ground rig applicators.    Since farmers had put together their weed

control program to use Loyant months before the drift problem occurred, they had not planned or

arranged for purchasing or using the other chemicals they could have applied with an airplane and

at a time when the weeds, including barnyard grass were less mature and easier to control. Due to

the last minute discovery of Loyant' s drift defect, farmers were not able to change their weed

control program on such short notice. Had Defendants properly tested Loyant, the drift issue

would have been learned in the testing and development stage instead of in commercial rice fields

and at the expense of farmers. Defendants' inadequate testing and Loy ant's drift defect boxed

farmers into a comer and forced them to rely upon Defendants' representations that they should

let their fields dry, apply Loyant with a ground rig, and that Loy ant worked so well (even if the

weeds were more mature) it would kill the weeds. As the farmers waited to be able to apply Loyant

with ground rigs, the barnyard grass and weeds grew. Despite Defendants' representations that

Loyant would kill the more mature weeds, it did not. In addition, as time continued to pass, the

weeds grew and matured beyond the point where other chemicals could be effective leaving

farmers' fields overgrown and ultimately caused farmers' yields and the quality of their crops to

suffer.

          51.   Even though Loyant's failures have been clear since 2018, Defendants continue to

market Loyant for use on barnyardgrass and other key weeds.



10   https://www.arkansasonline.com/news/2018/jun/O l/panel-waves-off-herbicide-ban-vote-2018/


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            52.     Based on the widespread ineffectiveness of Loyant on bamyardgrass as of the

     herbicide's very first growing season, either Defendants failed to adequately test Loyant before

     marketing it as a tool for bamyardgrass control or they were recklessly indifferent as to the

     possibility that the product would fail to control bamyardgrass.

            53.     Defendants' deficient development of Loyant was undertaken to augment their

     profits. On information and belief, Defendants did not permit independent scientists to exercise a

     sufficient degree of autonomy to determine whether Loyant would be effective on bamyardgrass

     in real-world conditions-despite Defendant's promise that the product would work in such a

     manner. In addition, Defendants marketed Loyant for use on weeds on which it was not effective

     in order to increase their market share relative to other herbicide manufacturers whose products

     were narrowly focused on certain weeds. These steps were done to minimize costs and increase

     market share, at the risk that rice growers would suffer economic injury when the product did not

     work as promised.

V.      CLASS ACTION ALLEGATIONS

            54.     Pursuant to Federal Rule of Civil Procedure 23(a) and (b)(3), Plaintiffs bring their

     claims (as further indicated below) on behalf of themselves and a "Class," defined as:

            All persons and entities in Arkansas who purchased and used Loyant on rice crops for
            commercial use from 2018 through the present.

            55.     Excluded from the Class and Subclasses are Defendants and their subsidiaries and

     affiliates; all persons who make a timely election to be excluded from the Class; governmental

     entities; and the Judge to whom this case is assigned and his or her immediate family. Plaintiffs

     reserve the right to revise the Class and/or Subclass definitions based upon information learned

     through discovery or as otherwise may be appropriate.




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       56.     Pursuant to Rule 23(c)(4) and (5), Plaintiffs may propose and/or the Court may

designate subclasses or issue classes at the time of class certification.

        57.    Numerosity: Rule 23(a)(l). The Class is so numerous thatjoinder of all members

is impracticable. In 2018, there were 1,441,000 acres of rice planted in Arkansas by over 2,500

farms. Although the precise number of Class members can be ascertained from Defendants'

records, on information and belief there are hundreds, if not thousands, of Class members in

Arkansas. Class members may be notified of the pendency of this action by recognized, Court-

approved notice dissemination methods, which may include U.S. mail, electronic mail, Internet

postings, social media, and published notice.

        58.     Commonality: Rule 23(a)(2). This action involves significant common questions

of law and fact, including, but not limited to:

                a.      Whether Defendants promised that Loyant would be effective at controlling

        bamyardgrass;

                b.      Whether Loyant is effective at controlling bamyardgrass;

                c.      Whether Loyant provides "selective postemergence grass, sedge, and

        broadleaf weed control";

                d.      Whether Defendants made false or misleading promises that Loyant would

        be effective at controlling other weeds;

                e.      Whether Class members suffered reduced yields on rice fields where they

        applied Loyant, compared to yields on those same fields in years when they did not apply

        Loyant;

                f.      Whether Defendants' false and misleading representations artificially

        inflated the price of Loyant, causing Class members to overpay Defendants.




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             59.     Typicality: Rule 23(a)(3). Plaintiffs' claims are typical of the claims of the Class

  members whom they seek to represent. Plaintiffs, like all Class members, purchased Loyant for

  use on rice and suffered yield loss when Loyant failed to work as promised. Plaintiffs' claims are

  based upon the same legal theories as the claims of the other Class members.

             60.     Adequacy: Rule 23(a)(4). Plaintiffs will fairly and adequately represent and

  protect the interests of the Class members. Plaintiffs have retained counsel competent and

  experienced in complex class action litigation, including consumer protection and product defect

      litigation. Plaintiffs intend to prosecute this action vigorously. Neither Plaintiffs nor their counsel

  have interests that conflict with the interests of the other Class members.

             61.     Rule 23(b)(3). Common questions of law and fact predominate over any questions,

      if any, affecting only individual class members, and a class action is the superior method for fair

      and efficient adjudication of the controversy. Paragraph 58 above lists examples of issues that are

      common to all Class members and that predominate over any potential individual issues. In

      addition, a class action in this case would be vastly superior to thousands of individual lawsuits.

      Such individualized litigation creates a potential for inconsistent or contradictory judgments, and

      increases the delay and expense to all parties and the court system. By contrast, the class action

      device presents far fewer management difficulties and provides the benefits of single adjudication,

      economies of scale, and comprehensive supervision by a single court.

VI.       CLAIMS FOR RELIEF

                                       FIRST CLAIM FOR RELIEF
                                        Breach of Express Warranty
                                    (On Behalf of Plaintiffs and the Class)

              62.     Plaintiffs re-allege and incorporates by reference into this claim for relief all

      allegations set forth in paragraphs 1-61 of this Complaint.

              63.     Plaintiffs bring this claim for relief on behalf of themselves and the proposed Class.


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       64.    At all relevant times, Loyant was a "good" under the Uniform Commercial Code

("UCC"). Ark. Code Ann.§ 4-2-105.

       65.    At all relevant times, Defendants were "sellers" under the UCC with respect to

Loyant. Ark. Code Ann.§ 4-2-103(l)(d).

       66.    At all relevant times, Plaintiffs and Class members were "buyers" under the UCC

with respect to Loyant. Ark. Code Ann.§ 4-2-103(l)(a).

       67.    Defendants made numerous affirmations of fact concerning Loyant, including:

              a.      Representations in advertising that Loyant was effective at controlling

        numerous weeds harmful to rice yields, including barnyardgrass;

              b.      Representations through its sales representatives that Loyant was effective

        at controlling numerous weeds harmful to rice yields, including barnyardgrass;

              c.      Representations on its label and in other Dow-created and -disseminated

        product information that Loyant was effective at controlling numerous weeds harmful to

        rice yields, including barnyardgrass

       68.    These affirmations of fact formed the basis of the bargain between Defendants and

Plaintiffs and Class members.

       69.    Loyant did not conform to Defendants' affirmations of fact.

       70.    Defendants intended that Plaintiffs and Class members would rely on these

representations. Indeed, Plaintiffs and Class members did rely on these representations-including

Defendants' written representations on the product label-when purchasing Loy ant.

       71.    Plaintiffs and Class members-rice farmers and/or growers-are persons and

entities whom Defendants might have reasonably expected to use Loyant.




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               72.     Plaintiffs notified Defendants of the breach of warranty within a reasonable time.

        Specifically, Stan Jones contacted his Dow representative to inform the company that Loyant was

        ineffective at controlling bamyardgrass and to request a remedy for this ineffective product.

               73.     As a direct result of Defendants' breach of warranty, Defendants injured Plaintiffs

        and the Class members and proximately caused them damages.

VII.       PRAYER FOR RELIEF

                 WHEREFORE, Plaintiffs and members of the Class seek:

                       a.     An order certifying the Class under Federal Rule of Civil Procedure 23(a)

               and (b)(3), appointing Plaintiffs and their Counsel to represent the Class, and for notice to

               the Class to be paid by Defendants;

                       b.     Damages suffered by Plaintiffs and the Class members, including

               consequential damages;

                       c.     Punitive damages;

                       d.     Plaintiffs' reasonable attorneys' fees';

                       e.     Plaintiffs' and Plaintiffs' counsel's recoverable fees, costs, and expenses;

                       f.     Pre-judgment and post-judgment interest at the maximum allowable rate on

               any amounts awarded; and

                       g.     Such other and further relief deemed just and proper under equity or law.

VIII.      JURY DEMAND

               Plaintiffs demand a trial by jury on all counts so triable.




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Dated: November 15, 2021            Respectfully submitted,




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